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                                           ACKNOWLEDGMENT AND NOTICE OF APPEARANCE

Short Title: E. Jean Carroll, Plaijntiff-Appellee v. Donald J. Trump, Defendant-Appellant         Docket No.:_2_3-_1_04_5_ _ _ _ _ _ _ __

Lead Counsel of Record (name/firm) or Pro se Party (name): Michael T. Madaio, Esq., Habba Madaio & Associates LLP

Appearance for (party/designation):._D_e_fe_n_da_n_t-_A-'p'--pe
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                                                                           _ o_n_a_ld_J_. _T_ru_m_p_ _ _ _ _ _ _ _ __ _ _ _ _ __ _ _ _ _ __

                                          DOCKET SHEET ACKNOWLEDGMENT/AMENDMENTS

Caption as indicated is:
0    Correct
0    Incorrect.     See attached caption page with corrections.

    Appellate Designation is:
0    Correct
D Incorrect. The following parties do not wish to participate in this appeal:
          Parties: - - - - -- - - - - - - - - - -- - - -- - - - - - - - - - - - - -- - - - - - -
D Incorrect.       Please change the following parties' designations:
          Party                                           Correct Desi"nation



Contact Information for Lead CounseVPro Se Party is:
@)Correct
0 Incorrect or Incomplete. As an e-filer, I have updated my contact information in the PACER "Manage My Account" screen.
Name:_ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ __
Firm: _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ __ _ _ _ __ _ _ __ _ _ __ _ _ _ __
Address:_ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ __
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Email: _ __ _ _ _ _ _ __ _ _ _ __ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ __

                                                                RELATED CASES

0 This case has not been before this Court previously.
0 This case has been before this Court previously. The short title, docket number, and citation are: _ _ _ _ _ _ _ __
    E. Jean Carroll v. Donald J. Trump, Docket No. 20-3977, Citation No. 20-3977 (2d Cir. 2022)
0   Matters related to this appeal or involving the same issue have been or presently are before this Court.              The short titles,
docket numbers, and citations are: E. Jean Carroll v. Donald J. Trump, Docket No. 23-793



                                                                 CERTIFICATION

I certify that (0 I am admitted to practice in this Court and, if required by LR 46. l(a)(2), have renewed my admission on
_ _ _ _ _ _ __ _OR chat                 D
                                      I applied for admission on _ __ __ _ _ _ _ _ _ _ _ or renewal on
                              If the Court has not yet admitted me or approved my renewal, I have completed Addendum A.
Signature of Lead Counsel of Record:._/s               _ h_ a_ e_ l T
                                                _ /_ M_ic           _ . _M_a_d_a_i_o____________________
Type or Print Name:_M
                    _ic_h_ae_l_T_. _M_a_da_io_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ __ _ _ _ _ _ _ _ _ _ _ __ _
          OR
Signature of pro se litigant: - - - - - - - - - - - - -- - - - - - - - - - -- - - - - -- - - - -- -
Type or Print Name:_ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ __ __
0    I am a prose litigant who is not an attorney.
0    I am an incarcerated pro se litigant.
